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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

UNITED STATES OF AMERICA *
*
V_ *
* CR 117-034
REALITY LEIGH WINNER *
O R D E R

Before the Court is “Defendant’s Objections and Appeal of
Magistrate’s Decision Granting in Part and Denying in Part
Defendant’s Motion to Compel Discovery Requests.” (Doc. 214J
Therein, Defendant appeals numerous discovery rulings made from
the bench by the United States Magistrate Judge during an
extensive hearing conducted over a two-day period on November 30
and December l, 2017.

I. Standard of Review

This Court reviews the Magistrate Judge's rulings to assure

that they were not “clearly erroneous or contrary to law.” 28

U.S.C. § 636(b)(l)(A); Fed. R. Crim. P. 59(a).

The clearly erroneous or contrary to law standard is
exceedingly deferential. A ruling is clearly erroneous
where either the magistrate judge abused his discretion or
the district court, after reviewing the entirety of the
record, is left with a definite and firm conviction that a
mistake has been made. A decision by the magistrate judge
is contrary to law where it either fails to follow or
misapplies the applicable law.

 

 

 

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Jones Creek Inv’rs, LLC v. Columbia Cty., Ga., 98 F. Supp. 3d

 

1279, 1287 (S.D. Ga. 2015) (internal quotations and citations
omitted).
II. Discovery Standards
The Court’s decision is guided by three discovery
standards. The first is Federal Rule of Criminal Procedure
l€(a)(l)(E):
Upon a defendant's request, the government must permit the
defendant to inspect and to copy or photograph books,
papers, documents, data, photographs, tangible objects,
buildings or places, or copies or portions of any of these
items, if the item is within the government's possession,
custody, or control and:

(i) the item is material to preparing the defense;

(ii) the government intends to use the item in its
case-in-chief at trial; or

(iii) the item was obtained from or belongs to the
defendant.

Rule l6(a)(l)(E) has two elements pertinent to this case: (l)
whether the disputed information is “within the government's
possession, custody, or control” and (2) whether the disputed
information is “material to preparing the defense.” An item is
“within the government's possession” for purposes of Rule 16
when it is “in the hands of a governmental investigatory agency

closely connected to the prosecutor.” United States v. Jordan,

 

316 F.3d 1215, 1249 (llth Cir. 2003) (citing United States v.

 

Scruggs, 583 F.2d 238, 242 (5th Cir. 1978)). An item is

“material to preparing the defense” when it is “helpful to the

 

 

 

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defense.” ;d; at 1250. “Helpful" means there is “some

indication that the pretrial disclosure of the item would

enable the defendant significantly to alter the quantum of

proof in his favor.” 1£§_ at 1251 (quotations and citations
omitted).

The second discovery standard is the Government’s

obligation to produce evidence under Brady v. Maryland,373 U.S.

 

83 (1963), and its progeny. Brady held that “the suppression by
the prosecution of evidence favorable to an accused upon request
violate[s] due process where the evidence is material either to
guilt or to punishment, irrespective of the good faith or bad

faith of the prosecution.” Id. at 87. In Giglio v. United

 

States, 405 U.S. 150, 154 (1972), the Court expanded its ruling
in grady and held that “when the reliability of a given witness
may well be determinative of guilt or innocence, nondisclosure
of evidence affecting credibility falls within [§£ady].”
(quotations and citations omitted). Thus, “impeachment evidence
[] as well as exculpatory evidence falls within the §£a§y rule.”

United States v. Bagley, 473 U.S. 667, 676 (1985).

 

“[E]vidence is material only if there is a reasonable
probability that, had the evidence been disclosed to the
defense, the result of the proceeding would have been different.
A ‘reasonable probability’ is a probability sufficient to
undermine confidence in the outcome.” 1§; at 682. “[T]he

individual prosecutor has a duty to learn of any favorable

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evidence known to the others acting on the government's behalf
in the case, including the police.” Kyles v. Whitley, 514 U.S.
419, 437 (1995). A party is “acting on the government's behalf”
if he is part of the “‘prosecution team,’ which includes both

investigative and. prosecutorial personnel.” United States v.

 

§§rg§, 866 F.2d 1304, 1309 (1lth Cir. 1989).

The final discovery standard concerns the government's
obligation to release classified information a defendant is
otherwise entitled to in pretrial discovery. This standard is

governed kn/ United States v. Yunis, 924 F.2d 1086 (D.C. Cir.

 

1991). Yunis held:
To prevail on a discovery request for classified
information, a defendant must make a threshold showing
that the requested material is relevant to his case. If
this “low hurdle” is successfully jumped, the court must
determine whether or not the government has asserted a
“colorable” claim to privilege. lf the government has
asserted such a claim, the defendant must show that the
information would be helpful to his defense.
Id. at 1095. Thus, if the Government establishes that the
information sought is classified, the Court must determine
whether that information is both relevant and helpful to the
defense.
III. Elements of the Offense
In determining whether the discovery sought is relevant,

material, or helpful to the defense, the Court must consider the

elements of the offense. Defendant has been charged under

 

 

 

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Section 793(e) of Title 18, United States Code, which provides

in relevant part:

Whoever having unauthorized possession of, access to, or

control over any document . . . relating to the national
defense . . . willfully communicates, delivers, transmits
or . . . attempts to communicate, deliver, transmits

the same to any person not entitled to receive it

[s]hall be fined under this title or imprisoned not more

than ten years, or both.
18 U.S.C. § 793(e). Defendant’s offense thus consists of four
elements: (l) “unauthorized possession of, access to, or control
over”; (2) “any document . . . relating to the national
defense”; (3) “willfully communicates, delivers, transmits”; and
(4) “to any person not entitled to receive it.”

When reviewing the Magistrate Judge’s rulings, the Court
has been guided by the following interpretation of the above
elements}

(1) “‘Unauthorized possession’ means possession of
classified information byl a person who does not hold a
security clearance, by a person who holds a security
clearance without the need. to know, or by 51 person who
holds a security clearance, has a need to know, but
removed the classified information from the official
premise without authorization. A person has unauthorized
possession of something if he is not entitled to have it.”

United States v. Kenneth Ford, Jr., 8:05-CR-00235-PJM,

 

Jury Instructions, at 45 (D. Md. 2005); see United States

 

 

 

 

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v. Rafia Davila, 2:03-CR-00021, Jury Instructions, Doc.
334, at 12 (E.D. Wash. 2006).

(2) “‘Relating to the national defense’ refers to the
military and naval establishments and the related
activities of national preparedness, and includes all
matters that directly or may reasonably be connected with
the defense of the United States against its enemies. To
establish that the document in question relates to
national defense, the Government must prove:

(a) the disclosure of [the document] would be

(i) potentially damaging to the
national defense; or

(ii) might be useful to an enemy of the
United States; and

(b) [the document was] closely held in that [it] had
not been lawfully made public [by the United States
Government] and [was] not available to the general
public.
Information about weapons, munitions of war and
intelligence which has been made public by the United
States Government and is found in sources lawfully
available to the general public does not relate to the
national defense. Similarly, where the sources of
information are lawfully available to the public, and the
United States Government has made no effort to guard such

information, the information itself does not relate to the

 

 

 

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national defense.” United States v. Rafia Davila, 2:03-

 

CR~00021, Jury Instructions, Doc. 334, at 11 (E.D. Wash.

2006); see United States v. Squillacote, 221 F.3d 542,

 

577-80 (4th Cir. 2000); United States v. Morrison, 844

 

F.2d 1057, 1071-72 (4th Cir. 1988); United States v.

 

Dadeyan, 584 F.Zd 36, 39-40 (4th Cir. 1978); United States
v. Abu-Jihaad, 600 F. Supp. 2d 362, 387 (D. Conn. 2009)
(found also in: United States v. Hassan Abujihaad, 3:07-
CR-57-MRK, Trial Transcript of Jury Instructions, Doc.

285, at 135-36 (D. Conn. 2008)); United States v. Gowadia,

 

1:05-CR-OO486-SOM-KSC, Jury Instructions, Doc. 782, at 46

(D. Hi. 2009); United States v. Kenneth Ford, Jr., 8:05-

 

CR-00235-PJM, Jury Instructions, at 46 (D. Md. 2005).

(3) “‘Willfully’ means that the act was committed
voluntarily and purposely, with the intent to do something
the law forbids; that is, with the bad purpose to disobey
or disregard the law. While a person must have acted with
the intent to do something the law forbids before you can
find that the person acted ‘willfully,’ the person need
not be aware of the specific law or rule that her conduct
may be violating.” 2016 Eleventh Circuit Pattern Jury

Instructions, B9.1A, at 32-34; see United States v. Hassan

 

Abujihaad, 3:07-CR-57-MRK, Trial Transcript of Jury

Instructions, Doc. 285, at 136-37 (D. Conn. 2008).

 

 

 

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(4) “Not entitled to receive” means the person who
received the information did not have an appropriate
security clearance, or had an appropriate security
clearance but had no need to know the information. United

States v. Hassan Abujihaad, 3:07-CR-57-MRK, Trial

 

Transcript of Jury Instructions, Doc. 285, at 138 (D.
Conn. 2008).
IV. The Government’s CIPA Section 10 Notice
Finally, when determining whether requested information is

material, relevant, or helpful, the Court has relied upon the
Government's § 10 Notice. Section 10 of the Classified
Information Procedures Act (“CIPA”) states that:

In any prosecution in which the United States must

establish that material relates to the national defense or

constitutes classified information, the United States

shall notify the defendant, within the time before trial

specified by the court, of the portions of the material

that it reasonably expects to rely upon to establish the

national defense or classified information element of the

offense.
18 U.S.C. App. 3. The § 10 Notice narrows the focus of the
trial and greatly shapes the scope and extent of discovery.
Thus, it is a critical document.

The Government’s § 10 Notice stated three specific pieces

of information that it contends are the “National Defense
Information” (“NDI”) it expects to rely upon at trial (“3 NDI

Points”). Defendant objects to the Government's § 10 Notice

because she believes it does not limit the Government to only

 

 

 

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the 3 NDI Points specifically listed, but insists that it keeps
the door open for the Government to rely upon any and all
information in the document at issue (the “Document”) at trial.
Defendant fears that if she prepares for trial and makes
discovery requests on the assumption that the Government will
rely upon only the 3 NDI points to prove the national defense
element of its case, she will be unprepared and unable to
adequately rebut the Government’s case if it subsequently relies
upon the entire Document. The Court, however, interprets the
Government’s notice to state that while it will rely upon the
entire Document to establish context, it “reasonably expects to
rely upon” ggly the 3 NDI Points “to establish the national
defense” element of the crime. 18 U.S.C. App. 3. Thus, the
Government’s § 10 Notice restricts the Government to rely only
upon the 3 NDI points to establish the national defense element
of the offense. The Court views the § 10 Notice in the nature
of a stipulation to that effect and will govern this case
accordingly.
V. Discussion

Keeping in mind the discovery standards discussed above and
the applicable standard of review, the Court has carefully
reviewed each and every discovery request, the hearing

transcript containing the arguments of counsel and the

 

 

 

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Magistrate Judge’s corresponding rulings,1 the parties’ briefs on
appeal, and the relevant law. After careful consideration, the
Court AFFIRMS all the Magistrate Judge’s rulings with the
exceptions discussed below.

First, the Court GRANTS Defendant’s discovery requests 19,
102, and 103 as numbered in Defendant’s Exhibit A.2 All of these
requests relate to the national defense element of the crime.
Request 19 seeks documents relating to the decision to classify
the Document. Request 102 seeks documentation detailing the
sources and methods used to compile the information in the
Document. And Request 103 seeks documentation supporting an
assertion the Government made in its CIPA § 10 Notice.

The above requests were denied or granted in part because
they were deemed not relevant or helpful. Contrarily, this
Court finds that the information sought by Defendant is relevant
and helpful to determine whether the Government can prove the
information in the Document was closely held and potentially
harmful to the United States. Accordingly, Requests 19 and 103
are GRANTED in their entirety, and Request 102 is GRANTED to the

extent that any documentation reflects that non-classified

 

1 The Court appreciates defense counsel's preparation of Exhibit

A on appeal, which lists the 105 discovery requests in an orderly and
comprehensible fashion.

2 Defendant appealed the Magistrate Judge’s rulings on requests
104 and 105, presumably on the basis that she believed her requests
were not granted. This Court’s review of the hearing transcript,
however, indicates that the Magistrate Judge granted Defendant’s
requests 104 and 105, Accordingly, the Court AFFIRMS those rulings.

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sources and methods were relied upon to gather the information
in the Document.

Second, the Court will permit discovery of documents that
are labeled “For Official Use Only” (“FOUO”). The rulings

excluding such documents from discovery were made on the

understanding - based upon the Government’s arguments at the
hearing - that FOUO documents were akin to classified documents
in that they could not be publicly shared. Because of this

understanding of FOUO, many FOUO documents were found not to be
relevant to whether certain information was closely held or
potentially damaging, and thus, not helpful to the defense.

This Court, however, has the benefit of Defendant’s expert
witness report, which was not available to the Magistrate Judge
at the discovery hearing but is attached to Defendant’s
Objections and Appeal. (Doc. 214-1, Ex. B.) Defendant’s
expert, William Leonard, the former Director of the Information
Security Oversight Office, stated that “the FOUO marking is not
a security classification” and that “governmental actors
regularly label otherwise unclassified documents FOUO.” (ld; I
20.) Furthermore, Mr. Leonard attests:

[I]t is my belief that many pertinent records critical to
the issues in this case - such as law enforcement alerts

regarding the topics at issue here, bulletins by
governmental agencies warning actors about the threat

posed by information in the Document, and the like - would
be, at a minimum, marked FOUO, regardless of their
classification level. As with the records mentioned above

(which reflect the disclosure of such information and/or
analyses regarding that information or disclosure), these

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FOUO records would likewise be relevant and helpful to
adequately conduct an analysis of whether the information
in the Document constitutes [NDI].

(l§;)

Upon consideration of Mr. Leonard’s testimony and with more
time for reflection, this Court finds that documents marked FOUO
might provide the Defendant with evidence that the NDI she
allegedly leaked was neither closely held nor potentially
damaging, Accordingly, the Court will not prohibit disclosure
of any documents because they are marked FOUO.

Upon the foregoing, Defendant’s appeal is GRANTED IN PART
and DENIED IN PART. (Doc. 214.)

ORDER ENTERED at Augusta, Georgia, this <ézéPVZ`day of

February, 2018.

 

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( J. RAN AL`HALL,/CHTEF\€UBGE\

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